Case 3:16-md-02738-MAS-RLS Document 23630 Filed 07/14/21 Page 1 of 2 PageID: 147189




                             UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEW JERSEY


    IN RE JOHNSON & JOHNSON “BABY
    POWDER” and “SHOWER TO SHOWER”
    MARKETING, SALES PRACTICES AND
    PRODUCTS LIABILITY LITIGATION
                                                                  MDL NO. 2738 (FLW) (LHG)
    THIS DOCUMENT RELATES TO:

    Michael Barylak, Individually and as the Anticipated
           Personal Representative of the Estate of Maria
           Barylak, Deceased vs. Johnson & Johnson, et al.
    Case No.: 3:21-cv-6520-FLW-LHG




                                         NOTICE OF FILING

           Notice is hereby given pursuant to Case Management Order No. 3 (Filing of Short Form

    Complaints) that a Short Form Complaint and Jury Demand has been filed on behalf of Plaintiff,

    Michael Barylak, Individually and as the Anticipated Personal Representative of the Estate of

    Maria Barylak, Deceased.

           This 14th day of July 2021.                  Respectfully submitted,


                                                        ONDERLAW, LLC

                                                 By:    /s/ James G. Onder
                                                        James G. Onder, #38049 MO
                                                        William W. Blair, #58196 MO
                                                        Stephanie L. Rados, #65117 MO
                                                        110 E. Lockwood, 2nd Floor
                                                        St. Louis, MO 63119
                                                        314-963-9000 telephone
                                                        314-963-1700 facsimile
                                                        onder@onderlaw.com
                                                        blair@onderlaw.com
                                                        rados@onderlaw.com
Case 3:16-md-02738-MAS-RLS Document 23630 Filed 07/14/21 Page 2 of 2 PageID: 147190




                                         Certificate of Service

           The undersigned hereby certifies that this document was filed and electronically served by
    way of the Court’s electronic filing system this 14th day of July 2021.


                                                        /s/ James G. Onder
